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                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT
                              717 MADISON PLACE, N.W.
                              WASHINGTON, D.C. 20439
JARRETT B. PERLOW                                                           CLERK’S OFFICE
 CLERK OF COURT                                                              202-275-8000

                                 September 15, 2023

 Re:    October 2023 Federal Circuit Sitting in Atlanta

 Dear Arguing Counsel,

        Your case has been scheduled for oral argument during our court’s October
 2023 sitting in Georgia, which includes Atlanta and surrounding locations. This
 letter provides relevant information concerning your appearance before our court.

        Ahead of your argument, please be sure to review the Notice of Oral
 Argument entered in your appeal on August 21, 2023, for location information. That
 morning, you will be expected to arrive at the argument location no later than 9:30
 a.m. (Eastern) and check in with the courtroom deputy directly in the courtroom.
 Please note that you will be required to arrange your own travel to the argument
 location and parking, and that a delay to your arrival may result in the court not
 hearing your argument or other adverse action. Standard rules of decorum and
 other argument regulations will apply; the court’s Revised Protocols for In-Person
 Arguments will also apply to the Georgia hearings.

        The court will not be providing live audio broadcast of the Georgia
 arguments; however, audio recordings will continue to be posted on the court’s
 website for all arguments. Questions concerning logistics of the Georgia arguments
 should be directed to the Federal Circuit Clerk’s Office at (202) 275-8035.
 Emergency-related notifications to the Clerk’s Office ahead of your argument should
 be directed to (202) 275-8049.


                                                    Respectfully,

                                                    /s/ Jarrett B. Perlow
                                                    Jarrett B. Perlow
                                                    Clerk of Court
